        1:15-cv-01447-MMM # 53          Page 1 of 2
                                                                                           E-FILED
                                                       Friday, 08 July, 2016 02:44:54 PM
                                                           Clerk, U.S. District Court, ILCD
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

SANDRA BROWN, #R-35900, et al.,            )
                                           )
               Plaintiffs,                 )
                                           )
       vs.                                 )             No. 15-1447-MMM
                                           )
ANGELA LOCKE, et al.,                      )
                                           )
               Defendants.                 )

                                   NOTICE OF APPEARANCE

       NOW COMES Lisa Madigan, Attorney General for the State of Illinois, by Laura K.

Bautista, Assistant Attorney General, and hereby enters her appearance as counsel on behalf of

Defendants ANGELA LOCKE, CLARA CHARRON (sued as “Sharon”), ALAN PASLEY,

DEBBIE DENNING, JOSEPH YURKOVICH, FELIPE ZAVALA, RENEE HATFIELD, JOHN

BALDWIN, CHRISTINE BRANNON, J. NESWICK, AARON LEESMAN, MONICA SLATER,

TAMMY LINNE, JOSHUA MERREIGHN, DANA CHAUDOIN (sued as “Chaddon”), DUSTY

MONTGOMERY,           JEFF     MASON,    SHABEDA        WARDEN-PENNINGTON             DAVID

BRAINARD, and PENNY JOHNSON, in the above cause.

                                                  Respectfully Submitted,

                                                  ANGELA LOCKE, et al.,

                                                         Defendants,

                                                  LISA MADIGAN, Attorney General,
Laura K. Bautista #6289023                        State of Illinois,
Assistant Attorney General
500 South Second Street                                  Attorney for Defendants,
Springfield, Illinois 62701
(217) 782-5819 Phone                              BY: s/ Laura K. Bautista
(217) 524-5091 Fax                                     Laura K. Bautista
Email: lbautista@atg.state.il.us                       Assistant Attorney General




                                         Page 1 of 2
        1:15-cv-01447-MMM # 53            Page 2 of 2


                       IN THE UNITED STATES DISTRICT COURT
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SANDRA BROWN, #R-35900, et al.,                )
                                               )
               Plaintiffs,                     )
                                               )
       vs.                                     )              No. 15-1447-MMM
                                               )
ANGELA LOCKE, et al.,                          )
                                               )
               Defendants.                     )

                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2016 I caused to be electronically filed the foregoing Notice
of Appearance with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following:

                       Arthur Loevy                   loevylaw@loevy.com
                       Jonathan Loevy                 jon@loevy.com
                       Michael Kanovitz               mike@loevy.com
                       Ruth Brown                     ruth@loevy.com
                       Tara Thompson                  tara@loevy.com

and I hereby certify that on July 8, 2016 I caused to be mailed by United States Postal Service,
the document to the following non-registered participant:

                                               NONE


                                                      Respectfully Submitted,


                                                      s/Laura K. Bautista__________
                                                      Laura K. Bautista, #6289023
                                                      Assistant Attorney General
                                                      Office of the Illinois Attorney General
                                                      500 South Second Street
                                                      Springfield, Illinois 62701
                                                      Phone: (217) 782-5819
                                                      Facsimile: (217) 524-5091
                                                      Email: lbautista@atg.state.il.us




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